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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :         Case No. 21-cr-586
                                             :
FRANCIS CONNOR                               :
                                             :
and ANTONIO FERRIGNO,                        :
                                             :
                          Defendants         :

    GOVERNMENT’S OPPOSITION TO DEFENDANT FERRIGNO’S MOTION TO
                      CONTINUE SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits this opposition to Defendant Antonio Ferrigno’s motion

to continue sentencing (ECF No. 49). The Court’s Sentencing Scheduling Order, issued April 28,

2022 (ECF No. 38), set this matter for an in-person sentencing hearing on September 1, 2022.

Given the number of parties involved in this matter and related matter United States v. Anton

Lunyk, 21-c-r 410, the proximity of Defendant Ferrigno’s motion to the scheduled sentencing date,

and the length of time since this Court issued its sentencing scheduling order, the government

objects to this sentencing being continued.          While the undersigned empathizes with the

circumstances prompting counsel for Defendant Ferrigno to request that the sentencing be

continued, the undersigned is also not local to the Washington, D.C., area, and has arranged travel

to be present in person for the September 1 sentencing.

       If the Court is inclined to grant Defendant Ferrigno’s motion to continue sentencing, the

government respectfully requests that only Defendant Ferrigno’s sentencing be continued, and to

a date when the parties are available to appear in person. Alternatively—while the government

opposes converting all three sentencings to video teleconference hearings—if there is no date on


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the Court’s calendar when all parties are available to appear in person, the government would not

object to Defendant Ferrigno’s sentencing being converted to a video teleconference hearing.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052


                                     By:          /s/
                                            Kathryn E. Fifield
                                            Trial Attorney
                                            U.S. Department of Justice, Crim. Div.
                                            Detailed to the D.C. U.S. Attorney’s Office
                                            601 D St. NW
                                            Washington, D.C. 20530
                                            Kathryn.fifield@usdoj.gov
                                            (202) 320-0048




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